          Case 4:22-md-03047-YGR            Document 687        Filed 03/15/24     Page 1 of 23



 1   [Parties and Counsel Listed on Signature Pages]
 2

 3

 4

 5

 6

 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                                                MDL No. 3047
11    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS                        Case No. 4:22-md-03047-YGR
12    LIABILITY LITIGATION
                                                                AGENDA AND JOINT STATEMENT
13    This Document Relates To:                                 FOR MARCH 22, 2024, CASE
                                                                MANAGEMENT CONFERENCE
14    ALL ACTIONS
15                                                              Judge: Hon. Yvonne Gonzalez Rogers

16                                                              Magistrate Judge: Hon. Peter H. Kang
17
            Pursuant to Case Management Order (“CMO”) No. 1 (ECF 75) and CMO No. 6 (ECF 451), the
18
     Parties submit this agenda and joint statement in advance of the March 22, 2024 Case Management
19
     Conference (“CMC”).
20
     I. Update on Motions to Dismiss
21

22          A.      Motion to Dismiss Personal Injury Plaintiffs’ Claims Against Mark Zuckerberg
            The Parties submitted on March 1, 2024 the supplemental briefing requested by the Court on
23
     Defendant Mark Zuckerberg’s motion to dismiss certain Personal Injury (“PI”) Plaintiffs’ claims against
24
     him in his individual capacity (ECF 518). See ECF 659, 660 (Defendants’ submissions); ECF 661
25
     (Plaintiffs’ submission).
26

27

28
                                                         1
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 687        Filed 03/15/24     Page 2 of 23



 1            B.     Motion to Dismiss PI Plaintiffs’ Non-Priority Claims
 2            On December 22, 2023, Defendants moved to dismiss the PI Plaintiffs’ remaining “non-priority

 3   claims” (Counts 5, 12, 14, 16–18) asserted in the PI Plaintiffs’ Second Amended Master Complaint.

 4   ECF 516. The PI Plaintiffs filed their opposition on February 5, 2024. ECF 597. Defendants filed their

 5   reply on February 26, 2024. See ECF 644. Should the Court wish to hold argument on this motion, the

 6   Parties advise that they are available for argument at the April 19, 2024 CMC or on another date at the

 7   Court’s convenience.1

 8            C.     Motion to Dismiss AG Complaints and Consumer Protection Claims
 9            On December 22, 2023, Meta moved to dismiss the Multistate Attorneys General (“AGs”)
10   Complaint, the Florida AG’s Complaint, and the PI Plaintiffs’ Consumer Protection and
11   Misrepresentation Claims. ECF 517. Defendants YouTube, Snap, and TikTok joined Meta’s motion to
12   dismiss Count 7 of the PI Plaintiffs’ Amended Master Complaint. ECF 519. Plaintiffs filed their
13   oppositions on February 5, 2024. ECF 599; 600. On March 1, Meta filed its reply (ECF 662), along
14   with annotated versions of the States’ and Personal Injury Plaintiffs’ appendices and a further appendix
15   setting forth its position on various state laws (ECF 662-1, 662-2, 662-3), as requested by the Court. See
16   Feb. 23, 2024 CMC Tr. at 87:10–13. The Court has set argument on this motion at the April 19, 2024
17   CMC.
18            The Meta Defendants and Plaintiffs are prepared to argue the entirety of the Motion to Dismiss
19   the AG Complaints and PI Plaintiffs’ Consumer Protection Claims at the April 19, 2024 CMC. To the
20   extent the Court wishes to hold a second day of argument, the Meta Defendants and Plaintiffs
21   respectfully request that it be held on a date adjacent to the April 19, 2024 CMC, if acceptable to the
22   Court.
23

24

25   1
       The Parties wish to note that other items on the April 19, 2024 CMC agenda include: argument on the
     Motion to Dismiss the AGs’ complaint, the Florida AG’s complaint, and the Personal Injury Plaintiffs’
26   Consumer Protection and misrepresentation claims (“Motion to Dismiss AG Complaints and PI
27   Plaintiffs’ Consumer Protection Claims”), ECF 645 (CMO No. 11); the hearing on Bellwether
     Discovery Pools, Case Management Order No. 10; and the hearing on the Youngers Plaintiffs’ Motion
28   to Remand, ECF 564.
                                                          2
                       AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                    4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 687        Filed 03/15/24      Page 3 of 23



 1          Several appendices of State law were affixed to Meta’s Reply in Support of the Motion to
 2   Dismiss the AGs’ Complaint. These appendices purport to provide a state-by-state summary of relevant
 3   areas of law. In light of the Court’s interest in state-by-state delineation, the State AGs have prepared
 4   annotated charts comparing the appendices submitted by Meta and relevant arguments made by the State
 5   AGs in the Opposition to the Motion to Dismiss and additional relevant state-specific authority. The
 6   State AGs have not yet shared their annotated charts with the Meta Defendants. The State AGs will
 7   submit an administrative motion for leave to submit the charts, with the charts attached, no later than
 8   Wednesday, March 20, 2024. The Meta Defendants do not oppose the State AGs’ motion for leave.
 9          D.      Motion to Dismiss Claims Asserted in Certain PI Plaintiffs’ SFCs Against Snap
10          On January 12, 2024, Defendant Snap moved to dismiss claims under 18 U.S.C. §§ 2252 and
11   2252A (also known as the “Identified Counts”) asserted in PI Plaintiffs’ amended Short-Form
12   Complaints pursuant to CMO No. 7 (ECF 479). See ECF 533. Those PI Plaintiffs filed their opposition
13   on February 5, 2024. ECF 598. Defendant Snap filed its reply on February 15, 2024. ECF 613.
14          E.      Motion to Dismiss School District and Local Government Entity Plaintiffs’ Master
15                  Complaint
            On February 5, 2024, Defendants moved to dismiss the claims asserted in the School District and
16
     Local Government Entity (“SD/GE”) Plaintiffs’ Master Complaint (ECF 504). See ECF 601. The
17
     SD/GE Plaintiffs filed their opposition on March 4, 2024. See ECF 668. Defendants’ reply is due on
18
     March 25, 2024. See ECF 451. Defendants request argument on this motion at the Court’s earliest
19
     convenience, taking into account that three other hearings are already scheduled for the April 19, 2024
20
     CMC. See supra note 1. Defendants would prefer a different date in April so that the issues raised in the
21
     motion can be resolved either before or shortly after bellwether discovery begins. Plaintiffs request that
22
     the Court set argument for a date in May, either in conjunction with or on a date adjacent to the CMC on
23
     May 10, 2024.2
24

25
26

27   2
      The Parties wish to note that the May CMC and Discovery Management Conferences are both
28   scheduled on May 10, 2024, at 9:30 AM and 1:00 PM respectively.
                                                          3
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
           Case 4:22-md-03047-YGR             Document 687         Filed 03/15/24      Page 4 of 23



 1   II. Meta’s Entitlement to Jury Trial on Claims Brought by State AGs
 2           In response to the Court’s direction at the February 23, 2024 CMC, and in accordance with the

 3   Court’s CMO No. 11 (Dkt. 646), the State AGs and Meta met and conferred on March 1, 8, and 10,

 4   regarding their understanding of Tull v. United States, 481 U.S. 412 (1987). The State AGs and Meta

 5   agree that Tull and its progeny cases control the question of whether either party is entitled to a jury trial

 6   in this federal action.

 7           In light of the State AGs’ and Meta’s agreement that Tull applies here, the State AGs wish to

 8   seek clarification from the Court at the March 22, 2024 CMC regarding the legal standard to be

 9   addressed in the chart previously requested by the Court regarding jury entitlement.3 To the extent that

10   the Court wishes the chart to address the entitlement to a jury on each state’s claim for liability and

11   remedy requested under Tull, the State AGs, through submission of an administrative motion that will be

12   filed today, March 15, 2024, request an extension of this Court’s March 15, 2024 deadline to provide

13   such a chart so that they may seek clarification regarding the scope of the chart requested. Meta does not

14   object to the extension requested by the State AGs.

15   III. Update on Plaintiff Fact Sheets (PFSs)
16           Substantially-complete PI and School District and Local Government Entity (“SD/LG”)
17   Plaintiffs’ Fact Sheets are due on April 1, 2024. See ECF 604, CMO No. 10. The 12-15 Bellwether
18   SD/LE Plaintiffs will submit their School District Supplemental Plaintiff Fact Sheets by June 1, 2024,
19   with the remaining SD/GE Plaintiffs submitting their School District Supplemental Plaintiff Fact Sheets
20   by October 1, 2024. See ECF 675.
21

22

23

24

25   3
       For the Court’s reference, CMO 11 ordered the State AGs to “identify in an editable chart under which
     statutory provisions (or otherwise) they seek (i) liability, and (ii) remedy, breaking out the kind of
26   remedy on separate lines (injunctive, statutory, restitution, disgorgement, etc.), and whether a jury or
27   non-jury trial is permitted for a given request for a finding of liability or relief. The States will send that
     chart to defendants, who can note on each line whether they agree or disagree with the States’
28   articulation of the jury entitlement.” ECF 646 at 4.
                                                            4
                       AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                    4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 687        Filed 03/15/24      Page 5 of 23



 1
            PI/SD Plaintiffs’ Position:
 2
            As mentioned in February’s CMC (ECF 618),4 Defendants and the PI Plaintiffs met and
 3
     conferred regarding what DFS data could be produced in time to inform bellwether selection by this
 4
     Court’s April 15, 2024 deadline. Defendants have taken the position that the deadline will not permit
 5
     them to provide DFSs or DFS data that would inform bellwether selection prior to the April deadline.
 6
     Given that Plaintiffs are sharing detailed information in their possession about their injuries (including
 7
     causation) and damages with Defendants via PFSs of more than 40 pages, together with relevant records
 8
     in their possession, Plaintiffs requested that Defendants stipulate that they will not consider the DFS data
 9
     uniquely in their possession—namely any data beyond the “download your data” information that
10
     constitutes the only user account data Plaintiffs are able to access—for purposes of bellwether selection,
11
     since that data is not being produced to Plaintiffs before the April deadline. Defendants refused. This is
12
     fundamentally unfair. Just in the last week, for example, at a Snap 30(b)(6) deposition, Plaintiffs
13
     learned that Snap maintains a database containing all historic user account activity and data—including
14
     relevant data about Plaintiffs’ account usage that Plaintiffs cannot access—which Snap employees can
15
     quickly query to obtain detailed reports. Plaintiffs request that the Court order that Defendants be
16
     foreclosed from considering the DFS data uniquely in their possession in making their bellwether
17
     selections.
18
            Defendants’ Position:
19
            Plaintiffs’ request should be denied.
20
            Plaintiffs’ counsel have access to a large amount of highly relevant information that the
21
     Defendants do not and will not have access to in connection with the selection process for bellwether
22
     discovery cases. This includes, for example, interviews with the minor plaintiffs, their parents and
23
     family members, physicians, counselors, teachers, and friends and any records those individuals have
24
     provided to date. Plaintiffs’ counsel will therefore have substantial information on Plaintiffs’ offline
25
     activities, which Defendants lack entirely. Plaintiffs’ counsel also have access to their clients’ phones
26

27   4
      The Parties in the JCCP continue to finalize the DFS and intend to submit for Judge Kuhl’s
28   consideration before the next conference in the JCCP on March 20, 2024.
                                                          5
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
           Case 4:22-md-03047-YGR            Document 687         Filed 03/15/24      Page 6 of 23



 1   and other electronic devices and any forensic analyses that they have done or could do of those
 2   electronic devices, which presumably includes any information related to their usage of Defendants’
 3   platforms or alternative causation. Plaintiffs’ counsel are not walled off in their access to or analysis of
 4   this information as part of the bellwether selection process. It, therefore, is improper for the Plaintiffs to
 5   request that Defendants be so walled off.
 6          Further, it is the Plaintiffs who requested an expedited schedule for bellwether discovery
 7   selection and discovery, and without building in time for a DFS process. The MDL schedule, which
 8   adopted this request from Plaintiffs, does not contemplate a DFS. The MDL Plaintiffs did not request a
 9   DFS from the MDL Court as part of Plaintiffs’ proposed schedule or after the Court issued its order
10   establishing the bellwether selection schedule. Moreover, as Defendants have explained to Plaintiffs,
11   they cannot provide DFS information on the timeline Plaintiffs are requesting, including because of the
12   requirements and timing of the User Account Information Order the Parties negotiated and this Court
13   entered. But that does not mean Defendants should be unilaterally precluded from considering
14   potentially relevant information in their possession that could theoretically have been part of a broader
15   DFS, had such a process been contemplated and ordered in the MDL.
16   IV.    Request for Clarification re Bellwether Selection Criteria
17          The Parties wish to raise three points of clarification with respect to the Court’s bellwether
18   selection criteria. (In Section IV, “Parties” shall refer to the PI/SD Plaintiffs and Defendants only and
19   does not include the State AGs).
20          Parties’ Joint Request for Clarification:
21          First, the Parties wish to clarify that the Court intended to include suicidality (in addition to self-
22   harm, suicide attempts, and suicide) as an eligible “self-harm” injury for purposes of bellwether
23   selection. In CMO No. 11, the Court recited the Parties’ agreement that “plaintiffs alleging an eating
24   disorder (defined to include generalized eating disorder, anorexia, bulimia, and binge eating disorder),
25   and self-harm (defined to include self-harm, suicidality, and suicide attempt(s)) should be included in
26   the selection criteria. (Dkt. No. 618 at 8.)” (emphasis added). The Court then went on to resolve the
27

28
                                                           6
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR              Document 687         Filed 03/15/24      Page 7 of 23



 1
     Parties’ disputes about other eligibility criteria, before ordering the following selection criteria for PI
 2
     bellwether Plaintiffs as follows (emphasis added):
 3
                    Any Personal Injury Plaintiff who 1) has named Meta as a Defendant; 2)
 4                  alleges a) an eating disorder (anorexia, bulimia, or binge eating disorder),
                    b) body dysmorphia, c) sleeping disorder(s), and/or d) self-harm (self-
 5
                    harm, suicide attempt(s), or suicide); . . .
 6

 7   Suicidality (or suicidal ideation), alone or in combination with other alleged injuries, is alleged in

 8   approximately 57% of the PI cases pending in the MDL, and approximately 23% of “self-harm” cases as

 9   defined in the form SFC involve allegations of suicidality (or suicidal ideation) without any self-harm

10   action. The Parties do not believe the Court intended to exclude suicidality from the definition of “self-

11   harm,” given the Parties’ prior agreement that it be included, and ask the Court to enter the [Proposed]

12   Order attached hereto as Exhibit C so clarifying.

13          Second, the Parties ask that the Court to clarify the process for exercising Lexecon objections

14   with respect to bellwether discovery plaintiffs. In CMO No. 10, this Court set a deadline of April 15,

15   2024 for the Parties to identify their Bellwether Discovery Pool picks; a hearing on Bellwether

16   Discovery Pools on April 19, 2024; and a deadline to file Lexecon objections (presumably to the

17   Bellwether Discovery Pool Plaintiffs only) of April 25, 2024. The Parties propose that the Court clarify

18   what happens in the event Lexecon objections are filed and sustained. The Parties previously proposed

19   the following agreed-to process (redlined to show minor edits that would be required to conform to the

20   Court’s now-ordered bellwether selection process), see ECF 592, as corrected ECF 595.1 at 4-5:

21                  Any Plaintiff selected by the Parties by April 15th for the Bellwether Discovery Pools
            who wishes to assert a Lexecon objection to their case being tried by the Court must file an
22          objection in writing within ten (10) days following selection of the Bellwether Discovery Pools
            by April 25. If the Court selects additional Plaintiffs for the Bellwether Discovery Pools, any
23          Plaintiff so selected who wishes to assert a Lexecon objection to their case being tried by the
24          Court must file an objection in writing seven (7) days after being selected by the Court. If no
            objection is filed by the relevant deadline, a Plaintiff will be deemed to have waived any rights
25          under Lexecon and to have agreed to have their case tried by this Court. Likewise, within ten
            (10) days following bellwether selection, Defendants must file any Lexecon objection(s) in
26          writing with the Court by the same deadlines, respectively, or be deemed to have waived any
            rights.
27

28
                                                            7
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 687         Filed 03/15/24      Page 8 of 23



 1                   If an objection is asserted and counsel dispute that the objecting party has a right to assert
            an objection under Lexecon, the Parties will immediately present the issue to the Court for
 2          resolution. If the Parties do not dispute the objection or if the Court sustains the Lexecon
 3          objection, then the claim will be deemed removed from the respective Bellwether Discovery
            Pool. In that event, if the Plaintiff was a pick by one of the two sides, the side that made the pick
 4          will have three (3) business days to select a replacement case of the same type as the case in
            which the objection was served (i.e., personal injury case or school district/governmental entity
 5          case); if the Plaintiff was randomly selected a randomly-selected replacement will be made by
            the Court, the Court will select another case of the same type as the case in which the objection
 6          was served (i.e., PI or SD/LG case). Lexecon objections other than those for claims selected for
 7          trial in this Court under the bellwether protocol are preserved. Thus, if a claim in the respective
            Bellwether Discovery Pool is not selected for trial, then the Court will restore the rights of the
 8          Plaintiff and Defendants in that claim to object to venue and jurisdiction in the Northern District
            of California for purposes of trial.
 9
10   This process will ensure that all cases worked up in discovery and eligible for selection as Bellwether

11   Trial Pool cases will be tried in this Court. The Parties ask the Court to enter the [Proposed] Order

12   attached hereto as Exhibit C clarifying this process.

13          Meta’s Request for Clarification:
14          Third, the Meta Defendants wish to clarify that they did not (and do not) agree with Plaintiffs’
15   proposal (subsequently ordered by the Court) that only those PI Plaintiffs who have “named Meta as a
16   Defendant” be eligible for selection as bellwether Plaintiffs, and ask the Court to issue an order
17   clarifying that this is not an eligibility criterion for the PI Bellwether Discovery Pool. There is no reason
18   to limit the pool of eligible cases to those naming Meta as a Defendant. The vast majority of PI cases
19   (186 out of 229, or 81%) name more than one Defendant.5 And while Meta is the only Defendant
20   named in certain cases, it is not a named Defendant in twelve cases; and there are other cases naming
21   only one (other) Defendant. There is no reason to exclude those cases from possible selection as
22   bellwether cases.
23          Plaintiffs’ assertion that Meta “had multiple prior opportunities to raise [this issue] prior to the
24   Court issuing its ruling in CMO 11 [on February 27, 2024], but did not do so” is misleading. In CMO 8
25
26   5
      Plaintiffs observe that 95% of all PI cases name Meta, and conclude that “[c]ases that do not name
27   Meta as a defendant are thus clearly not representative.” But 65% of all PI cases name TikTok and 64%
     name Snap—so by Plaintiffs’ logic, any case that does not name any of these three Defendants would
28   not be representative, demonstrating the error of Plaintiffs’ logic.
                                                             8
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 687         Filed 03/15/24      Page 9 of 23



 1   (ECF 581), issued on January 29, 2024, the Court ordered the Parties by February 2, 2024 (four days
 2   later) to submit proposed trial schedules and, in a footnote, suggested the Parties “should begin
 3   discussing the selection process for bellwether trials, and to the extent feasible, include selection process
 4   proposals in their filings.” ECF 581 at 3 & n3. It was not feasible for Defendants on such short notice
 5   to include proposed bellwether selection processes in the Parties’ February 2 submission. They
 6   accordingly asked Plaintiffs to agree to a later date for the submission of bellwether selection processes,
 7   but Plaintiffs refused and insisted on including their proposed eligibility criteria, on which the Parties
 8   had very little time to confer, in their February 2 submission. In response, Defendants proposed that the
 9   Court set a later date for the submission of eligibility criteria. Following the Parties’ February 6, 2024
10   off-the-record discussion regarding a case schedule, the Court issued CMO No. 10 (ECF 604),
11   “preliminarily” adopting Plaintiffs’ proposed bellwether eligibility criteria and inviting Defendants to
12   make any contrary proposals in their February CMC Statement. ECF 604 at 4. Following further
13   conferrals with Plaintiffs, the Meta Defendants understood the Parties to be in agreement that “Meta-as-
14   a-Defendant” would not be a criterion. That is why, in the Parties’ February CMC Statement—where
15   the Parties jointly set forth their areas of agreement and disagreement with respect to Plaintiffs’
16   previously-proposed eligibility criteria—the “Meta-as-a-Defendant” criterion was not identified.6 And
17   the issue did not come up at the February CMC, further reinforcing Meta’s understanding that all Parties
18   were in agreement on this issue.
19          PI/SD Plaintiffs’ Response:
20          As Meta acknowledges, in only12 PI cases is Meta not named as a Defendant; thus, Meta is
21   named in 95% of all PI cases, and not named in only 5%. Cases that do not name Meta as a defendant
22

23
     6
       See February CMC Statement (ECF 618) at 8 (“With respect to eligibility criteria for the PI Bellwether
24   Pool, in addition to the eligibility requirement that Plaintiffs submit a PFS by the Court’s April 1
     deadline, the Parties agree that Plaintiffs claiming one or more of the following injuries are eligible for
25
     selection: an eating disorder (defined to include generalized eating disorder, anorexia, bulimia, and
26   binge eating disorder); self-harm (defined to include self-harm, suicidality, and suicide attempt(s)).
     However, as discussed below, the Parties disagree on whether the Bellwether Pool should include (1)
27   non-addiction cases, (2) suicide cases, and (3) Plaintiffs who allege either body dysmorphia or sleep
     disorders alone. The Parties further disagree as to whether the Court should include eligibility
28   requirements relating to age at time of filing and gender.”).
                                                            9
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR              Document 687         Filed 03/15/24       Page 10 of 23



 1   are thus clearly not representative. Additionally, because the multi-state attorney general action pending
 2   in this Court is against Meta only, Plaintiffs expect that inclusion of Meta as a defendant in PI
 3   bellwether cases will enhance pre-trial coordination. For these reasons, requiring that Meta be a named
 4   Defendant in PI bellwethers makes good sense. Moreover, Meta’s argument should not be countenanced
 5   at this late date given that it had multiple prior opportunities to raise it prior to the Court issuing its
 6   ruling in CMO No. 11, but did not do so. Plaintiffs made clear in the February 2 Joint Statement
 7   addressing proposed bellwether selection criteria that, to be eligible as a bellwether case, PI Plaintiffs
 8   must have “named Meta as Defendant.” ECF 592 at 3:13. Despite this criterion having been previewed
 9   by Plaintiffs on a prior meet and confer, Defendants declined to address eligibility criteria in the Joint
10   Statement. The Court then held an informal chambers session with the parties on February 6 regarding,
11   inter alia, bellwether criteria. Two days later the Court “preliminarily adopt[ed] plaintiffs’ proposed
12   bellwether eligibility criteria,” with “any contrary proposals [due] in advance of the [CMC] on February
13   23.” ECF 604 at 4, 614. Contrary to the “understanding” Meta claims, in ensuing conferrals and filings,
14   Meta failed to raise, and Plaintiffs never suggested an agreement to drop, the Meta-as-a-Defendant
15   criterion. In the parties’ joint statement in advance of the February 23 conference, Defendants asked the
16   Court to modify the bellwether selection pool criteria in several ways, but neither Defendants generally
17   nor Meta specifically raised any concern about the criterion that Meta be a named defendant. Nor was
18   the issue raised in argument at the status conference itself. See 2/23/24 Hr’g Tr. 57:16-75:14. Following
19   the hearing, the Court modified certain selection criteria, but retained the requirement that an eligible PI
20   Plaintiff must have “named Meta as a Defendant.” ECF 646 at 4:7. Respectfully, the Court should not
21   reverse course now.
22   V. Discovery Management Conference Statement
23           Attached hereto as Exhibit A is a copy of the Parties’ Discovery Management Conference
24   Statement, filed this same date.
25   VI. Stipulation Between the Parties Regarding Filing Time for Joint Filings
26
         To facilitate the joint submission process, the Parties have stipulated that all joint filings shall be
27
     filed with the Court by no later than 4:00 pm Pacific Time on the day the filing is due. A Stipulation and
28
                                                            10
                       AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                    4:22-md-03047-YGR
            Case 4:22-md-03047-YGR           Document 687        Filed 03/15/24      Page 11 of 23



 1   [Proposed] Order is attached hereto as Exhibit B. The Parties respectfully request that the Court enter
 2   the [Proposed] Order.
 3   VII.    Voluntary Dismissals
 4           On February 15, 2024, the Court sent the following message to Liaison Counsel:
 5                          Certain plaintiffs, such as those in cases 23-4702 and 23-5796,
 6                  have filed notices of voluntary dismissals pursuant to Federal Rule of
                    Civil Procedure 41(a)(1)(A)(i). As you know, that provision of the Federal
 7                  Rules permits a plaintiff to voluntarily dismiss an action without court
                    order or joint stipulation of the parties prior to defendants’ service of an
 8                  answer or motion for summary judgment.
 9                          Here, any actions transferred into or directly filed in this Court “are
10                  deemed answered and denied.” See Case Management Order No. 4,
                    Section I. Given this, the Court requires that parties meet and confer
11                  regarding a protocol for considering such voluntary dismissals. To the
                    extent parties agree that the Court may approve voluntary dismissals of
12                  direct member cases as a routine matter, they shall so stipulate.
13   The Parties have met and conferred and agree that, because Defendants do not wish to waive any

14   requirements of Federal Rule of Civil Procedure 41, Plaintiffs will comply with Federal Rule of Civil

15   Procedure 41(a)(1)(A)(i) with respect to any voluntary dismissals they file going forward, obviating the

16   need for a stipulation. (In Section VII, “Parties” refers to the PI/SD Plaintiffs and Defendants only and

17   does not include the State AGs).

18   VIII. Update on SD/GE Plaintiff Fact Sheet
19           Consistent with the Parties’ representation at the February 23, 2024 CMC, the Parties finalized the
20   SD/GE Plaintiff Fact Sheet and submitted a stipulated proposed implementation order to the Court on March
21   11, 2024 (ECF 675).
22   IX. Proposed Stipulation Order to Amend and Correct the SD/GE Plaintiffs’ Master Complaint
23           On March 12, 2024, Plaintiffs and TikTok submitted a proposed stipulated order allowing the
24   SD/GE Plaintiffs to amend their Master Complaint to correct an error, which inadvertently named
25   Defendant TikTok Ltd. as “TikTok Pte. Ltd.” (ECF 678). SD/GE Plaintiffs seek to amend their Master
26   Complaint solely to remedy this misnomer.
27

28
                                                          11
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR            Document 687         Filed 03/15/24      Page 12 of 23



 1   X. Co-Lead Counsel for State AGs
 2      Meta Defendants’ Position:

 3          There are currently pending before this Court three complaints brought by a coalition of 33

 4   States (the “Multi-State Complaint”), the State of Florida, and the State of Montana. With the exception

 5   of the State of Montana, all of the States bringing suit are represented in this litigation by counsel from

 6   their respective AGs’ Offices, with the State of Montana represented by private counsel. In a

 7   submission dated November 14, 2023, counsel for California, Colorado, and Kentucky identified

 8   themselves as Co-Lead Counsel for the State AGs and represented that the States had, “using previously

 9   established procedures, communication channels, and administrative supports,” “successfully operated

10   in close coordination with each other” during their pre-suit investigation. Dkt. No. 434, Status Update

11   Regarding Plaintiff States’ Leadership.

12          During a meet-and-confer call with the State AGs on March 11, 2024, identified Co-Lead

13   Counsel for the State AGs informed the Meta Defendants that Meta would need to coordinate separately

14   with counsel for the Montana AG’s Office because they do not “represent” the Montana AG. The Meta

15   Defendants respectfully submit that it would be inefficient and at odds with the purpose for which these

16   coordinated proceedings were created to require them to coordinate with separate counsel for a single

17   AG’s office–particularly when the AGs have successfully operated in close coordination in the past.

18   Accordingly, the Meta Defendants respectfully request that the Court order the identified Co-Lead

19   Counsel for the State AGs to coordinate with an identified Lead Counsel for the State of Montana (as

20   they have been doing with every other State, including Florida), consistent with the Court’s previously-

21   stated expectation that the AGs would remain coordinated in these proceedings. Nov. 16, 2023 CMC

22   Tr. 5:20-6:3; Dkt. No. 434, Status Update Regarding Plaintiff States’ Leadership; Dkt. No. 451, Case

23   Management Order No. 6, at 5.

24          State AGs’ Position:

25          The State of Montana filed a complaint on December 1, 2023 in the District of Montana. Case

26   No. 1:23-cv-00145, ECF No. 1 (D. Mont. Dec. 1, 2023). That complaint was transferred to this MDL on

27   February 9, 2024. ECF 605. As of March 12, 2024, the State of Montana is coordinating with the other

28   34 State Attorneys General in the MDL, and the State Attorney General Co-Lead Counsel are authorized
                                                      12
                      AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
         Case 4:22-md-03047-YGR            Document 687       Filed 03/15/24      Page 13 of 23



 1   to speak on behalf of and represent the positions of the State of Montana. Accordingly, no order
 2   directing Co-Lead Counsel to coordinate with counsel for the State of Montana is necessary.
 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
26

27

28
                                                        13
                     AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                  4:22-md-03047-YGR
         Case 4:22-md-03047-YGR           Document 687        Filed 03/15/24      Page 14 of 23



 1   Respectfully submitted,
 2   DATED: March 15, 2024                        By: /s/ Previn Warren
 3                                                  LEXI J. HAZAM
                                                    LIEFF CABRASER HEIMANN &
 4                                                  BERNSTEIN, LLP
 5                                                  275 BATTERY STREET, 29TH FLOOR
                                                    SAN FRANCISCO, CA 94111-3339
 6                                                  Telephone: 415-956-1000
                                                    lhazam@lchb.com
 7
                                                    PREVIN WARREN
 8
                                                    MOTLEY RICE LLC
 9                                                  401 9th Street NW Suite 630
                                                    Washington DC 20004
10                                                  T: 202-386-9610
                                                    pwarren@motleyrice.com
11
                                                    Co-Lead Counsel
12

13                                                  CHRISTOPHER A. SEEGER
                                                    SEEGER WEISS, LLP
14                                                  55 CHALLENGER ROAD, 6TH FLOOR
                                                    RIDGEFIELD PARK, NJ 07660
15                                                  Telephone: 973-639-9100
                                                    Facsimile: 973-679-8656
16
                                                    cseeger@seegerweiss.com
17
                                                    Counsel to Co-Lead Counsel
18
19                                                  JENNIE LEE ANDERSON
20                                                  ANDRUS ANDERSON, LLP
                                                    155 MONTGOMERY STREET, SUITE 900
21                                                  SAN FRANCISCO, CA 94104
                                                    Telephone: 415-986-1400
22                                                  jennie@andrusanderson.com
23                                                  Liaison Counsel
24
                                                    MATTHEW BERGMAN
25                                                  GLENN DRAPER
                                                    SOCIAL MEDIA VICTIMS LAW CENTER
26                                                  821 SECOND AVENUE, SUITE 2100
                                                    SEATTLE, WA 98104
27                                                  Telephone: 206-741-4862
28                                                  matt@socialmediavictims.org
                                                       14
                     AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                  4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24     Page 15 of 23



 1                                          glenn@socialmediavictims.org
 2                                          JAMES J. BILSBORROW
 3                                          WEITZ & LUXENBERG, PC
                                            700 BROADWAY
 4                                          NEW YORK, NY 10003
                                            Telephone: 212-558-5500
 5                                          Facsimile: 212-344-5461
                                            jbilsborrow@weitzlux.com
 6

 7                                          PAIGE BOLDT
                                            WATTS GUERRA LLP
 8                                          4 Dominion Drive, Bldg. 3, Suite 100
                                            San Antonio, TX 78257
 9                                          T: 210-448-0500
                                            PBoldt@WattsGuerra.com
10

11                                          THOMAS P. CARTMELL
                                            WAGSTAFF & CARTMELL LLP
12                                          4740 Grand Avenue, Suite 300
                                            Kansas City, MO 64112
13                                          T: 816-701 1100
                                            tcartmell@wcllp.com
14

15                                          JAYNE CONROY
                                            SIMMONS HANLY CONROY, LLC
16                                          112 MADISON AVE, 7TH FLOOR
                                            NEW YORK, NY 10016
17                                          Telephone: 917-882-5522
                                            jconroy@simmonsfirm.com
18
                                            CARRIE GOLDBERG
19                                          C.A. GOLDBERG, PLLC
                                            16 Court St.
20                                          Brooklyn, NY 11241
                                            T: (646) 666-8908
21                                          carrie@cagoldberglaw.com
22
                                            SIN-TING MARY LIU
23                                          AYLSTOCK WITKIN KREIS &
                                            OVERHOLTZ, PLLC
24                                          17 EAST MAIN STREET, SUITE 200
                                            PENSACOLA, FL 32502
25                                          Telephone: 510-698-9566
26                                          mliu@awkolaw.com

27                                          ANDRE MURA
                                            GIBBS LAW GROUP, LLP
28                                          1111 BROADWAY, SUITE 2100
                                               15
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24     Page 16 of 23



 1                                          OAKLAND, CA 94607
                                            Telephone: 510-350-9717
 2                                          amm@classlawgroup.com
 3
                                            EMMIE PAULOS
 4                                          LEVIN PAPANTONIO RAFFERTY
                                            316 SOUTH BAYLEN STREET, SUITE 600
 5                                          PENSACOLA, FL 32502
                                            Telephone: 850-435-7107
 6                                          epaulos@levinlaw.com
 7
                                            ROLAND TELLIS
 8                                          DAVID FERNANDES
                                            BARON & BUDD, P.C.
 9                                          15910 Ventura Boulevard, Suite 1600
                                            Encino, CA 91436
10
                                            Telephone: (818) 839-2333
11                                          Facsimile: (818) 986-9698
                                            rtellis@baronbudd.com
12                                          dfernandes@baronbudd.com

13                                          ALEXANDRA WALSH
                                            WALSH LAW
14
                                            1050 Connecticut Ave, NW, Suite 500
15                                          Washington D.C. 20036
                                            T: 202-780-3014
16                                          awalsh@alexwalshlaw.com
17                                          MICHAEL M. WEINKOWITZ
                                            LEVIN SEDRAN & BERMAN, LLP
18
                                            510 WALNUT STREET
19                                          SUITE 500
                                            PHILADELPHIA, PA 19106
20                                          Telephone: 215-592-1500
                                            mweinkowitz@lfsbalw.com
21

22

23

24

25
26

27

28
                                               16
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24      Page 17 of 23



 1                                          DIANDRA “FU” DEBROSSE ZIMMERMANN
                                            DICELLO LEVITT
 2                                          505 20th St North
 3                                          Suite 1500
                                            Birmingham, Alabama 35203
 4                                          Telephone: 205.855.5700
                                            fu@dicellolevitt.com
 5
                                            HILLARY NAPPI
 6                                          HACH & ROSE LLP
 7                                          112 Madison Avenue, 10th Floor
                                            New York, New York 10016
 8                                          Tel: 212.213.8311
                                            hnappi@hrsclaw.com
 9
                                            JAMES MARSH
10
                                            MARSH LAW FIRM PLLC
11                                          31 HUDSON YARDS, 11TH FLOOR
                                            NEW YORK, NY 10001-2170
12                                          Telephone: 212-372-3030
                                            jamesmarsh@marshlaw.com
13
                                            Attorneys for Individual Plaintiffs
14

15

16

17

18
19

20

21

22

23

24

25
26

27

28
                                               17
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24      Page 18 of 23



 1                                          PHILIP J. WEISER
                                            Attorney General
 2                                          State of Colorado
 3
                                            _/s/ Bianca E. Miyata
 4                                          Bianca E. Miyata, CO Reg. No. 42012,
                                            pro hac vice
 5                                          Senior Assistant Attorney General
                                            Lauren M. Dickey, CO Reg. No. 45773
 6                                          First Assistant Attorney General
 7                                          Megan Paris Rundlet, CO Reg. No. 27474
                                            Senior Assistant Solicitor General
 8                                          Elizabeth Orem, CO Reg. No. 58309
                                            Assistant Attorney General
 9                                          Colorado Department of Law
                                            Ralph L. Carr Judicial Center
10
                                            Consumer Protection Section
11                                          1300 Broadway, 7th Floor
                                            Denver, CO 80203
12                                          Phone: (720) 508-6651
                                            bianca.miyata@coag.gov
13
                                            Attorneys for Plaintiff State of Colorado, ex rel.
14
                                            Philip J. Weiser, Attorney General
15
                                            ROB BONTA
16                                          Attorney General
                                            State of California
17
                                            _/s/ Megan O’Neill
18
                                            Nick A. Akers (CA SBN 211222)
19                                          Senior Assistant Attorney General
                                            Bernard Eskandari (SBN 244395)
20                                          Supervising Deputy Attorney General
                                            Megan O’Neill (CA SBN 343535)
21                                          Joshua Olszewski-Jubelirer
22                                          (CA SBN 336428)
                                            Marissa Roy (CA SBN 318773)
23                                          Deputy Attorneys General
                                            California Department of Justice
24                                          Office of the Attorney General
                                            455 Golden Gate Ave., Suite 11000
25                                          San Francisco, CA 94102-7004
26                                          Phone: (415) 510-4400
                                            Fax: (415) 703-5480
27                                          Bernard.Eskandari@doj.ca.gov

28
                                               18
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24      Page 19 of 23



 1                                          Attorneys for Plaintiff the People of the State of
                                            California
 2

 3                                          RUSSELL COLEMAN
                                            Attorney General
 4                                          Commonwealth of Kentucky

 5                                          /s/ J. Christian Lewis
                                            J. Christian Lewis (KY Bar No. 87109),
 6                                          Pro hac vice
 7                                          Philip Heleringer (KY Bar No. 96748),
                                            Pro hac vice
 8                                          Zachary Richards (KY Bar No. 99209),
                                            Pro hac vice app. forthcoming
 9                                          Daniel I. Keiser (KY Bar No. 100264),
                                            Pro hac vice
10
                                            Matthew Cocanougher (KY Bar No. 94292),
11                                          Pro hac vice
                                            Assistant Attorneys General
12                                          1024 Capital Center Drive, Suite 200
                                            Frankfort, KY 40601
13                                          CHRISTIAN.LEWIS@KY.GOV
                                            PHILIP.HELERINGER@KY.GOV
14
                                            ZACH.RICHARDS@KY.GOV
15                                          DANIEL.KEISER@KY.GOV
                                            MATTHEW.COCANOUGHER@KY.GOV
16                                          Phone: (502) 696-5300
                                            Fax: (502) 564-2698
17
                                            Attorneys for Plaintiff the Commonwealth of Kentucky
18
19

20

21

22

23

24

25
26

27

28
                                               19
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24     Page 20 of 23



 1                                          COVINGTON & BURLING LLP
 2                                          By: /s/ Ashley M. Simonsen
 3                                          Ashley M. Simonsen, SBN 275203
                                            COVINGTON & BURLING LLP
 4                                          1999 Avenue of the Stars
                                            Los Angeles, CA 90067
 5                                          Telephone: (424) 332-4800
                                            Facsimile: + 1 (424) 332-4749
 6                                          Email: asimonsen@cov.com
 7
                                            Phyllis A. Jones, pro hac vice
 8                                          Paul W. Schmidt, pro hac vice
                                            COVINGTON & BURLING LLP
 9                                          One City Center
                                            850 Tenth Street, NW
10
                                            Washington, DC 20001-4956
11                                          Telephone: + 1 (202) 662-6000
                                            Facsimile: + 1 (202) 662-6291
12                                          Email: pajones@cov.com

13                                          Attorney for Defendants Meta Platforms, Inc.
                                            f/k/a Facebook, Inc.; Facebook Holdings,
14
                                            LLC; Facebook Operations, LLC; Facebook
15                                          Payments, Inc.; Facebook Technologies, LLC;
                                            Instagram, LLC; Siculus, Inc.; and Mark Elliot
16                                          Zuckerberg
17
                                            FAEGRE DRINKER LLP
18
                                            By: /s/ Andrea Roberts Pierson
19                                          Andrea Roberts Pierson, pro hac vice
                                            FAEGRE DRINKER LLP
20                                          300 N. Meridian Street, Suite 2500
                                            Indianapolis, IN 46204
21                                          Telephone: + 1 (317) 237-0300
22                                          Facsimile: + 1 (317) 237-1000
                                            Email: andrea.pierson@faegredrinker.com
23
                                            Amy R. Fiterman, pro hac vice
24                                          FAEGRE DRINKER LLP
                                            2200 Wells Fargo Center
25                                          90 South Seventh Street
26                                          Minneapolis MN 55402
                                            Telephone: +1 (612) 766 7768
27                                          Facsimile: + 1 (612) 766 1600
                                            Email: amy.fiterman@faegredrinker.com
28
                                               20
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24     Page 21 of 23



 1                                          Geoffrey M. Drake, pro hac vice
                                            KING & SPALDING LLP
 2                                          1180 Peachtree Street, NE, Suite 1600
 3                                          Atlanta, GA 30309
                                            Telephone: +1 (404) 572 4726
 4                                          Email: gdrake@kslaw.com

 5                                          David P. Mattern, pro hac vice
                                            KING & SPALDING LLP
 6                                          1700 Pennsylvania Avenue, NW, Suite 900
 7                                          Washington, D.C. 20006
                                            Telephone: +1 (202) 626 2946
 8                                          Email: dmattern@kslaw.com

 9                                          Attorneys for Defendants TikTok Inc. and ByteDance
                                            Inc.
10

11                                          MUNGER, TOLLES & OLSEN LLP
                                            By: /s/ Jonathan H. Blavin
12                                          Jonathan H. Blavin, SBN 230269
                                            MUNGER, TOLLES & OLSON LLP
13                                          560 Mission Street, 27th Floor
                                            San Francisco, CA 94105-3089
14
                                            Telephone: (415) 512-4000
15                                          Facsimile: (415) 512-4077
                                            Email: jonathan.blavin@mto.com
16
                                            Rose L. Ehler (SBN 29652)
17                                          Victoria A. Degtyareva (SBN 284199)
                                            Laura M. Lopez, (SBN 313450)
18
                                            Ariel T. Teshuva (SBN 324238)
19                                          MUNGER, TOLLES & OLSON LLP
                                            350 South Grand Avenue, 50th Floor
20                                          Los Angeles, CA 90071-3426
                                            Telephone: (213) 683-9100
21                                          Facsimile: (213) 687-3702
22                                          Email: rose.ehler@mto.com
                                            Email: victoria.degtyareva@mto.com
23                                          Email: Ariel.Teshuva@mto.com

24                                          Lauren A. Bell (pro hac vice forthcoming)
                                            MUNGER, TOLLES & OLSON LLP
25                                          601 Massachusetts Ave., NW St.,
26                                          Suite 500 E
                                            Washington, D.C. 20001-5369
27                                          Telephone: (202) 220-1100
                                            Facsimile: (202) 220-2300
28                                          Email: lauren.bell@mto.com
                                               21
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 687        Filed 03/15/24     Page 22 of 23



 1
                                            Attorneys for Defendant Snap Inc.
 2

 3                                          WILSON SONSINI GOODRICH & ROSATI
                                            Professional Corporation
 4                                          By: /s/ Brian M. Willen
                                            Brian M. Willen
 5                                          WILSON SONSINI GOODRICH & ROSATI
                                            1301 Avenue of the Americas, 40th Floor
 6                                          New York, New York 10019
 7                                          Telephone: (212) 999-5800
                                            Facsimile: (212) 999-5899
 8                                          Email: bwillen@wsgr.com

 9
                                            Lauren Gallo White
10
                                            Samantha A. Machock
11                                          WILSON SONSINI GOODRICH & ROSATI
                                            One Market Plaza, Spear Tower, Suite 3300
12                                          San Francisco, CA 94105
                                            Telephone: (415) 947-2000
13                                          Facsimile: (415) 947-2099
                                            Email: lwhite@wsgr.com
14
                                            Email: smachock@wsgr.com
15
                                            Christopher Chiou
16                                          WILSON SONSINI GOODRICH & ROSATI
                                            633 West Fifth Street
17                                          Los Angeles, CA 90071-2048
                                            Telephone: (323) 210-2900
18
                                            Facsimile: (866) 974-7329
19                                          Email: cchiou@wsgr.com

20                                          Attorneys for Defendants YouTube, LLC, Google LLC,
                                            and Alphabet Inc.
21

22                                          WILLIAMS & CONNOLLY LLP
                                            By: /s/ Joseph G. Petrosinelli
23                                          Joseph G. Petrosinelli
                                            jpetrosinelli@wc.com
24                                          Ashley W. Hardin
                                            ahardin@wc.com
25                                          680 Maine Avenue, SW
26                                          Washington, DC 20024
                                            Telephone.: 202-434-5000
27                                          Fax: 202-434-5029
                                            Attorneys for Defendants YouTube, LLC, Google LLC,
28                                          and Alphabet Inc.
                                                22
             AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
         Case 4:22-md-03047-YGR            Document 687        Filed 03/15/24      Page 23 of 23



 1                                              ATTESTATION
 2
            I, Previn Warren, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the
 3
     filing of this document has been obtained from each signatory hereto.
 4

 5
     Dated: March 15, 2024
 6                                                   By: /s/ Previn Warren
 7                                                        PREVIN WARREN

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
26

27

28
                                                        23
                     AGENDA AND JOINT STATEMENT FOR MARCH 22, 2024 CASE MANAGEMENT CONFERENCE
                                                  4:22-md-03047-YGR
